      Case 4:20-cv-00366-SMR-HCA Document 44 Filed 06/04/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA


    AKRUM WADLEY, et al.,                               Case No. 4:20-cv-00366-SMR-HCA

                         Plaintiffs,

    v.
                                                       PLAINTIFFS’ NOTICE OF
    UNIVERSITY OF IOWA, et al.,                        SUBPOENAS DUCES TECUM
                                                       TO NON-PARTIES
                         Defendants.

           The Plaintiffs hereby give notice to the Defendants, pursuant to Federal Rule of Civil

Procedure 45(a)(4), that they intend to serve subpoenas duces tecum upon the following non-

parties:

            Jacksonville Jaguars                                   Urban Meyer
            c/o Trent Baalke, General Manager                      12450 Royal Troon Ln.
            1 Tiaa Bank Field Dr.                                  Jacksonville, FL 32224
            Jacksonville, FL 32202

           The subpoenas command production of documents and electronically stored information

as described in the subpoenas, filed as Exhibits 1 and 2. The responsive materials are to be

produced via email to Damario Solomon-Simmons on or before July 9, 2021 at 5:00 P.M.



                                                Respectfully submitted,


                                                s/ Kymberli J. M. Heckenkemper
                                                Kymberli J. M. Heckenkemper, OBA # 33524
                                                SOLOMON SIMMONS LAW, PLLC
                                                601 S. Boulder Ave., Ste. 600
                                                Tulsa, OK 74119
                                                Phone: (918) 551-8999
                                                Fax: (918) 582-6106
                                                Email: kheckenkemper@solomonsimmons.com
